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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________


                    US Dominion, Inc. et al.                       )
                             Plaintiff                             )
                                v.                                 )      Case No.   1:21-cv-00445-CJN
           Michael J. Lindell and MyPillow, Inc.                   )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation                             .


Date:          09/21/2021                                                                   /s/ Laranda Walker
                                                                                             Attorney’s signature


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